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ILLINOIS NORTHERN DISTRICT colt,

327 S. Church St. Rockford, IHinois, 61101 Ve
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iy: Cae Fey ©
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Sey

Tiara Grace Spates ) Jurisdiction: Court of Record, under “OUp,
) the rules of Common Law!

Petitioner )

_ Against - 7 21 cv 50432
& Judge Philip G. Reinhard
) ) Magistrate Judge Margaret J. Schneider

Robert Simmons; Prosecuting )

Attorney; y Trial By Jury
)
) AFFIDAVIT IN SUPPORT OF

Respondent ) VERIFIED SHOW CAUSE OF THE
) INFERIOR COURT'S PERSONAL
) JURISDICTION OVER PLAINTIFF
) ACCORDING TO THE UNITED
) STATES CONSTITUTION

5
STATE OF ILLINOIS )
)
COUNTY OF WINNEBAGO)

10 I, Tiara Grace Spates, one of the People of the State of Illinois, competent to defend

myself in a court of law,....

STATE OF ILLINOIS IN THE CIRCUIT COURT OF THE 17™ JUDICIAL
CIRCUIT COUNTY OF WINNEBAGO JUVENILE DIVISION

FACTS

 

' “A Court of Record is a judicial tribunal having attributes and exercising functions independently of the person of the
magistrate designated generally to hold it, and proceeding according to the course of common law, its acts and proceedings
being enrolled for a perpetual memorial”. Jones v. Jones, 188 Mo.App. 220, 175 S.W. 227, 229; Ex parte Gladhill, 8 Metc.
Mass., 171, per Shaw, C.J. See, also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689.

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15 In the United States, before any court can have authority to hear a case, the court must

have both in-personam and subject matter jurisdiction. Any court not a court of record?
has no authority to proceed without the consent of the persons involved. This consent

must be without coercement’, and with full disclosure’.

A court of record is a superior court. A court not of record is an inferior court. No judge

20 or legislators can alter that which the People ordained. To alter is high treason.

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“Service of an appearance ticket on an accused does not confer personal or subject

matter jurisdiction upon a criminal court.”°

“Trial court acts without jurisdiction when it acts without inherent or common law

authority.”®

“Inferior courts are those whose jurisdiction is limited and special and whose
proceedings are not according to the course of the common law. Criminal courts
proceed according to statutory law. Jurisdiction and procedure is defined by
statute. Likewise, civil courts and admiralty courts proceed according to statutory
law. Any court proceeding according to statutory law is not a court of record

(which only proceeds according to common law); it is an inferior court.”

 

? COURTS OF RECORD and COURTS NOT OF RECORD — The former being those whose acts and judicial proceedings
are enrolled, or recorded, for a perpetual memory and testimony, and which have power to fine or imprison for contempt.
Error lies to their judgments, and they generally possess a seal. Courts not of record are those of inferior dignity, which have
no power to fine or imprison, and in which the proceedings are not enrolled or recorded. 3 BI. Comm. 24; 3 Steph. Comm.
383; The Thomas Fletcher, C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225; Erwin v. U.S., D.C.Ga., 37 F. 488, 2 L.R.A.
229; Heininger v. Davis, 96 Ohio St. 205, 117 N.E. 229, 231.
3Coercement: To compel by force, intimidation, or authority, especially without regard for individual desire or volition:
They coerced him into signing the document. to bring about through the use of force or other forms of compulsion;
exact: to coerce obedience.

*Full Disclosure: When a company or individual is required to reveal the complete truth regarding a matter necessary for
another party to know before entering into a sale or contract.

> People v. Giusti, 673 N.Y.S.2d 824, 176 Misc.2d 377 (1998) “No valid conviction can occur if the charging instrument is
void.” State v. Wilson, 6 8. W.3d 504 (1998)

© State v. Rodriguez, 725 A.2d 635, 125 Md.App 428, cert den 731 A.2d 971,354 Md. 573 (1999)
7 Ex parte Watkins, 3 Pet., at 202-203. cited by SCHNECKLOTH vy. BUSTAMONTE, 412 U.S. 218, 255 (1973).

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“Once challenged, jurisdiction cannot be ‘assumed’, it must be proved to exist.”® “A court
cannot confer jurisdiction where none existed and cannot make a void proceeding valid.
It is clear and well established law that a void order can be challenged in any court.”?
Therefore, “the burden shifts to the court to prove jurisdiction® on the record, all
jurisdiction facts related to the jurisdiction asserted.”"' “Where a court failed to observe

safeguards, it amounts to denial of due process of law, court is deprived of juris.”

No court has discretion to ignore its lack of jurisdiction.'? “The law requires proof of
jurisdiction to appear on the record of the administrative agency and all administrative
proceedings.”!* “No judicial process, whatever form it may assume, can have any lawful
authority outside of the limits of the jurisdiction of the court or judge by whom it is

issued;”!>

 

§ “Once challenged, jurisdiction cannot be ‘assumea’, it must be proved to exist.” - Stuck v. Medical Examiners, 94 Ca2d
751.211 P2s 389; “Jurisdiction, once challenged, cannot be assumed and must be decided.” - Maine v. Thiboutot, 100 S. Ct.
250; “No sanction can be imposed absent proof of jurisdiction” - Stanard v. Olesen, 74 S. Ct.768; “The law requires proof of
jurisdiction to appear on the record of the administrative agency and all administrative proceedings” - Hagans v. Lavine,
415 U.S. 528; “Once jurisdiction is challenged, the court cannot proceed when it clearly appears that the court lacks
jurisdiction, the court has no authority to reach merits, but, rather, should dismiss the action.” - Melo v. US, 505 F2d 1026;
Other cases also such as McNutt v. G.M., 56 S. Ct. 789,80 L. Ed. 1135, Griffin v. Mathews, 310 Supp. 341, 423 F. 2d 272,
Basso v. U.P.L., 495 F 2d. 906, Thomson v. Gaskiel, 62 S. Ct. 673, 83 L. Ed. 111, and Albrecht v U.S., 273 U.S. 1, also all
confirm, that, when challenged, jurisdiction must be documented, shown, and proven, to lawfully exist before a cause may
lawfully proceed in the courts.

° OLD WAYNE MUT. L. ASSOC. v. McDONOUGH, 204 U. S. 8, 27 S. Ct. 236 (1907).

10 Rosemond v. Lambert, 469 F2d 416.

11 | atana v. Hopper, 102 F. 2d 188; Chicago v. New York, 37 F Supp. 150; Main v. Thiboutot, 100 S. Ct. 2502 (1980); “A
universal principle as old as the law is that a proceedings of a court without jurisdiction are a nullity and its judgment therein
without effect either on person or property.” Norwood v. Renfield, 34 C 329; Ex parte Giambonini, 49 P. 732; “Jurisdiction
is findamental and a judgment rendered by a court that does not have jurisdiction to hear is void ab initio.” In Re Application
of Wyatt, 300 P. 132; Re Cavitt, 118 P2d 846; “4 court has no jurisdiction to determine its own jurisdiction, for a basic issue
in any case before a tribunal is its power to act, and a court must have the authority to decide that question in the first
instance.” Rescue Army v. Municipal Court of Los Angeles, 171 P2d 8; 331 US 549, 91 L. ed. 1666, 67 S.Ct. 1409.

2 Merritt v. Hunter, C.A. Kansas 170 F2d 739.

13 “There is no discretion to ignore lack of jurisdiction.” Joyce v. U.S. 474 2D 215.

'4 Hagans vy. Lavine, 415 U. 8. 533,

15 «no judicial process, whatever form it may assume, can have any lawful authority outside of the limits of the jurisdiction
of the court or judge by whom it is issued; and an attempt to enforce it beyond these boundaries is nothing less than lawless
violence.” Ableman v. Booth, 21 Howard 506 (1859),

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“If the courts are to regard the constitution; and the constitution is superior to any
ordinary act of the legislature; the constitution, and not such ordinary act, must govern
the case to which they both apply. Those then who resist the principle that the constitution
is to be considered, in court, as a paramount law, are reduced to the necessity of
maintaining that courts must close their eyes on the constitution, and see only the law.
This doctrine would subvert the very foundation of all written constitutions. It would
declare that an act, which, according to the principles and theory of our government, is
entirely void, is yet, in practice, completely obligatory. It would declare that if the
legislature shall do what is expressly forbidden, such act, notwithstanding the express
prohibition, is in reality effectual. It would be giving to the legislature a practical and real
omnipotence with the same breath which professes to restrict their powers within narrow
limits. It is prescribing limits, and declaring that those limits may be passed at

pleasure.”"®

The definition of Law is that which is laid down, ordained, or established. It is “a rule or
method according to which phenomena or actions co-exist or follow each other and must
be obeyed or be subject to sanctions or legal consequences.” In our Republic,
“Common” Law, Equity'® and the Constitution are the Law of the Land by which We the
People, by God’s mercy and blessing, chose to be judged when we “assumed among the
powers of the earth, the separate and equal station to which the Laws of Nature and of

Nature’s God entitle us.”

 

'6 MARBURY v. MADISON, 5 U.S. 137 (1803) 5 U.S. 137 (Cranch) 1803
7 Koenig v. Flynn, 258 N.Y. 292, 179 N. E. 705.
'8 under American Jurisprudence, the principles of common law.

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American courts are vested by the People, “the author and source of law,” through
constitutions”’ ordained by the People. Therefore, a court must first have “constitutional

authority” over an individual before it can proceed.

In criminal cases, a court must have an indictment by an untainted grand jury, in other
words, the permission by the People to proceed. Furthermore, “all” state laws and
constitutions are ultimately governed by the “Supremacy Clause” of the Constitution for
the United States of America as ordained by the People in Article VI, clause 2, that defines
the “Law of the Land”.

We the people ordained and established the Constitution for the United States of
America.?! We the People vested Congress to make law via Article I Section 8.77 We the
People did not vest Congress with law making powers to control the peoples’ behavior.
We the People are above the Constitution and all legislated law, whereas government
authorities are under the Constitutions and legislated laws. We the People are subject only
to the Laws of Nature and of Nature’s God.” “All codes, rules, and regulations are for
government authorities only, not human/creators in accordance with God’ laws. All
codes, rules, and regulations are unconstitutional and lacking due process....”** The

phrase “at Law” is used to point out that a thing is to be done according to the course of

 

'? “Sovereignty itself is, of course, not subject to law, for it is the author and source of law;” -- Yick Wo v. Hopkins, 118 US
356, 370.

20 That which is laid down, ordained, or established. Koenig v. Flynn, 258 N.Y. 292, 179 N. E. 705.

21 PREAMBLE: We the people of the United States, in order to form a more perfect union, establish justice, insure domestic
tranquility, provide for the common defense, promote the general welfare, and secure the blessings of liberty to ourselves and
our posterity, do ordain and establish this Constitution for the United States of America.

2 Article I Section 1: All legislative powers herein granted shall be vested in a Congress of the United States, which shall
consist of a Senate and House of Representatives; Article I Section 8 Clause 18: Congress shall have power to make all laws
which shall be necessary and proper for carrying into execution the foregoing powers, and all other powers vested by this
Constitution in the government of the United States, or in any department or officer thereof.

23 Declaration of Independence.

24 Rodriques v. Ray Donavan (U.S. Department of Labor) 769 F. 2d 1344, 1348 (1985).

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the common law. It is distinguished from a proceeding in equity.” “All laws, rules and
practices which are repugnant to the Constitution are null and void.”™®

THE COMMON LAW PERMITS THE DESTRUCTION OF
THE ABATEMENT OF NUISANCES BY SUMMARY PROCEEDINGS

16 AMERICAN JURISPRUDENCE 2", SECTION 114: “As to the construction, with reference
to Common Law, an important cannon of construction is that constitutions must be
construed to reference to the Common Law. The Common Law, so permitted destruction
of the abatement of nuisances by summary proceedings and it was never supposed that a
constitutional provision was intended to interfere with this established principle and
although there is no common law of the United States in a sense of a national customary
law as distinguished from the common law of England, adopted in the several states. In
interpreting the Federal Constitution, recourse may still be had to the aid of the Common
Law of England. It has been said that without reference to the common law, the language

of the Federal Constitution could not be understood.”

Therefore, since Constitutions must be construed to reference the common law, summary
proceedings?’ would deny petitioner’s 7“ Amendment’s right”® of trial by jury and,

thereby, would be repugnant rendering any such decision null and void.

Under federal Law, which is applicable to all states, the U.S. Supreme Court stated: “Ifa
court is without authority, its judgments and orders are regarded as nullities. They are not

voidable, but simply void, and form no bar to a recovery sought, even prior to a reversal

 

2 Blacks 4" At Law.

26 Marbury v. Madison, 5th US (2 Cranch) 137, 180.

27 Summary preceeding: Any proceeding by which a controversy is settled, case disposed of, or trial conducted, in a prompt
and simple manner, without the aid of a jury, without presentment or indictment, or in other respects out of the regular course
of the common law, Sweet see Phillips v. Phillips, 8 N.J.L. 122.

28 Amendment VII Jn suits at common law, where the value in controversy shall exceed twenty dollars, the right of trial by
jury shall be preserved, and no fact tried by a jury, shall be otherwise reexamined in any Court of the United States, than
according to the rules of the common law.

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in opposition to them. They constitute no justification and all persons concerned in

executing such judgments or sentences are considered, in law, as trespassers.””°

“The law requires proof of jurisdiction to appear on the record of the administrative
agency and all administrative proceedings.”*° “No sanction can be imposed absent proof
of jurisdiction.”*'! “No judicial process, whatever form it may assume, can have any
lawful authority outside of the limits of the jurisdiction of the court or judge by whom it
is issued; and an attempt to enforce it beyond these boundaries is nothing less than lawless

violence.”3”

Jurisdiction cannot be decided by the court being challenged. This court must dismiss
this case for lack of personam jurisdiction immediately or make an argument for
jurisdiction in a court of record. Refusal by this court, not of record, to obey the law and
pursue a voidable decision will cause the petitioner to move this case into federal court

for cause in violation of petitioner’s right of due process for damages and dismissal.

REMEDY

POuEREFORE, respondent is to show-cause why the attached violation(s) or charges
against the petitioner should not be dismissed for lack of personam jurisdiction. And, by

what ‘constitutional’ authority the aforesaid court acts.

Petitioner moves this defendant and inferior court to cease and desist from all actions
against petitioner and restore the petitioner to their original state for lack of constitutional

authority and personam jurisdiction.

CONCLUSION

 

29 Basso v. UPL, 495 F. 2d 906; Brook v. Yawkey, 200 F. 2d 633; Elliot v. Piersol, | Pet. 328, 340, 26 U.S. 328, 340 (1828).
30 Hagans v. Lavine, 415 U.S. 528

31 Stanard v. Olesen, 74 S. Ct.768.

32 Ableman v. Booth, 21 Howard 506 (1859)

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For the foregoing reasons, the Court should require Defendant to:

1) Show by what U.S. Constitutional authority, Respondent, while having no
agreement with petitioner, conspired®? under color of law in a “nisi prius** de
facto quasi3® court not of record proceeding in equity” and not at law; >”

depriving*® petitioner of their unalienable right*’ of due process, secured by the Bill

 

33 18 USC 241: If two or more persons conspire to injure, oppress, threaten, or intimidate any person in any State, Territory,
Commonwealth, Possession, or District in the free exercise or enjoyment of any right or privilege secured to him by the
Constitution or laws of the United States, or because of his having so exercised the same; or If two or more persons go in
disguise on the highway, or on the premises of another, with intent to prevent or hinder his free exercise or enjoyment of any
right or privilege so secured They shall be fined under this title or imprisoned not more than ten years, or both; and if death
results from the acts committed in violation of this section or if such acts include kidnapping or an attempt to kidnap,
aggravated sexual abuse or an attempt to commit aggravated sexual abuse, or an attempt to kill, they shall be fined under this
title or imprisoned for any term of years or for life, or both, or may be sentenced to death.

34 NISI PRIUS: is a Latin term (Bouvier’s Law) Where courts bearing this name exist in the United States, they are instituted
by statutory provision.; Black's 5th "Prius" means "first." "Nisi" means "unless." A “nisi prius" procedure is a procedure to
which a party FIRST agrees UNLESS he objects.; Blacks 4th - A rule of procedure in courts is that if a party fails to object
to something, then it means he agrees to it. A nisi procedure is a procedure to which a person has failed to object A "nisi prius
court" is a court which will proceed unless a party objects. The agreement to proceed is obtained from the parties first.

35 DE FACTO: In fact, in deed, actually. This phrase is used to characterize an officer, a government, a past action, or a state
of affairs which must be accepted for all practical purposes, but is illegal or illegitimate. In this sense it is the contrary of de
jure, which means rightful, legitimate, just, or constitutional. Thus, an officer, king, or government de facto is one who is in
actual possession of the office or supreme power, but by usurpation, or without lawful title; while an officer, king, or governor
de jure is one who has just claim and rightful title to the office or power, but has never had plenary possession of it, or is not
in actual possession. 4 Bl.Comm. 77, 78. MacLeod v. United States, 229 U.S. 416, 33 S.Ct. 955, 57 L.Ed. 1260; Wheatley v.
Consolidated Lumber Co., 167 Cal. 441, 139 PB. 1057, 1059.

36 QUASI: Lat. As if; almost as it were; analogous to. This term is used in legal phraseology to indicate that one subject
resembles another, with which it is compared, in certain characteristics, but that there are intrinsic and material differences
between them. Bicknell v. ,Garrett, | Wash.2d 564, 96 P.2d 592, 595, 126 A.L.R. 258; Cannon v. Miller, 22 Wash.2d 227,
155 P.2d 500, 503, 507, 157 A-L.R. 530. Marker v. State, 25 Ala.App. 91, 142 So. 105, 106. It is often prefixed to English
words, implying mere appearance or want of reality. State v. Jeffrey, 188 Minn. 476, 247 N.W. 692, 693.

37 AT LAW. [Bouvier's] This phrase is used to point out that a thing is to be done according to the course of the common law;
it is distinguished from a proceeding in equity.; ALL CASES AT LAW. [Black's Law 4th] Within constitutional guaranty of
jury trial, refers to common law ac-tions as distinguished from causes in equity and certain other proceedings. Breimhorst v.
Beck-man, 227 Minn. 409, 35 N.W.2d 719, 734, According to law; by, for, or in law; particularly in distinction from that
which is done in or according to equity; or in titles such as sergeant at law, barrister at law, attorney or counsellor at law.
Hooker v. Nichols, 116 N.C. 157, 21 S.E. 208.

38 18 USC 242 Whoever, under color of any law, statute, ordinance, regulation, or custom, willfully subjects any person in
any State, Territory, Commonwealth, Possession, or District to the deprivation of any rights, privileges, or immunities secured
or protected by the Constitution or laws of the United States, or to different punishments, pains, or penalties, on account of
such person being an alien, or by reason of his color, or race, than are prescribed for the punishment of citizens, shall be fined
under this title or imprisoned not more than one year, or both; and if bodily injury results from the acts committed in violation
of this section or if such acts include the use, attempted use, or threatened use of a dangerous weapon, explosives, or fire,
shall be fined under this title or imprisoned not more than ten years, or both; and if death results from the acts committed in
violation of this section or if such acts include kidnapping or an attempt to kidnap, aggravated sexual abuse, or an attempt to
commit aggravated sexual abuse, or an attempt to kill, shall be fined under this title, or imprisoned for any term of years or
for life, or both, or may be sentenced to death.

39 42 USC 1983 Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State or
Territory or the District of Columbia, subjects, or causes to be subjected, any citizen of the United States or other person

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of Rights, with the intent to proceed unlawfully carrying petitioner away to

jurisdictions unknown.

2) Show by what U.S. Constitutional authority, Respondent, while not being able to

prove a claim and fiduciary authority over petitioner necessary for a lawful seizure

130 of body and/or property in a court of record, could lawfully conspire, devise, and
proceed with a plan under the color of law to bypass petitioner’s unalienable right

of “due process” in a court not of record in jurisdictions’ unknown.

3) Show by what U.S. Constitutional authority the respondent denied petitioner’s
unalienable right of due process” in a court of record proceeding according to

135 Natural Law protected by Amendments V and VIL.

4) Show why the attached violation(s) or charges against the petitioner should not be
dismissed for lack of personam jurisdiction. And, if not dismissed, by what

‘constitutional’ authority the aforesaid court acts.
140 5) Verify*! that each and every statement is true.

If the defendant cannot verify and prove the U.S. Constitutionality of their actions against
the plaintiff, then the Court should require Defendant dismissal for lack of personam

jurisdiction in violation of plaintiffs right of due process in a ‘Court not of Record.

 

within the jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured by the Constitution and laws,
shall be liable to the party injured in an action at law, suit in equity, or other proper proceeding for redress,...

40 "Law of the land,” "due course of law," and "due process of law" are synonymous. People v. Skinner, Cal., 110 P.2d 41,
45; State v. Rossi, 71 R.I. 284, 43 A.2d 323, 326; Direct Plumbing Supply Co. v. City of Dayton, 138 Ohio St. 540, 38 N.E.2d
70, 72, 137 A.L.R. 1058; Stoner v. Higginson, 316 Pa. 481, 175 A. 527, 531.

‘Verify: Verification is the legal context refers to a declaration under oath or upon penalty of perjury that a statement or

pleading is true.

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exercise of jurisdiction.” “If any tribunal finds absence of proof of jurisdiction over

person and subject matter, the case must be dismissed.”“4

Plaintiff hereby challenges the aforementioned inferior court's jurisdiction.

dL deo

SEAL Proceeding Sui Juris, in pro per

 

NOTARY

Subscribed and sworn, without prejudice, and with all rights reserved,

(Print your name AQ (A Gfac Syotes >

Principal, by Special ‘Appearance, isa woman; proceeding Sui Juris.
Date: | ~ o\
Signature: x

On this Io” 1D dayof_ Nov. , 20 Q \ , before me, the undersigned, a Notary
Public in and for AMndiS 4 (state), personally appeared the above-

 

 

  
  

 

 

 

 

 

  
  
   

 

signed, known to me to be the one whos name(s) is/are signed on this instrument, and

has acknowledged-te-me-that-s/he-has_ exdguted the same.

Signed: \

Printed Name: CRo0Sa & Acece -H

Date: Ul | | 0 } odo) penne “OFC ribbtde Wrreeor :«
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[Ae
“3 Rhode Island v. Massachussetts, 37 U.S. 657, 718, 9L.Ed. 1233 (1838). My Commission Exp Se of lilinois

8 Sept. 25,2025 §

   

* Louisville R.R. v. Motley, 211 U.S. 149, 29 S, Ct. 42

 
 

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